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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO


 CARL FORSELL,                                  )    CASE NO. 5:22-cv-01454-SL
                                                )
                        Plaintiff,              )    JUDGE LIOI
                                                )
                v.                              )    MOTION      OF     DEFENDANT
                                                )    SQUIRRELS, LLC, FOR MORE
 SQUIRRELS LLC , et al.                         )    DEFINITE STATEMENT
                                                )
                        Defendants.             )


       Defendant, Squirrels LLC (“Squirrels”), herby moves pursuant to Civil Rule 12(e), for a

more definite statement of Plaintiff’s complaint, because the complaint is so vague and ambiguous

that Defendant is unable to prepare a responsive pleading. Specifically, it is unclear from the

Complaint whether the party that allegedly contracted with Defendant an individual named Carl

Forsell, an apparent entity named Nonce Pte. Ltd. (“Nonce Pte”), or some combination of the

two.   As such, Defendant respectfully moves for an order requiring Plaintiff to make a more

definite statement of his claim.



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                                    PROOF OF SERVICE

       This will certify that a copy of the foregoing was served on the following by the method(s)

indicated below, on September 6, 2022:

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                                            /s/ Jack B. Cooper
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